249 F.2d 317
    Carlos V. GAYv.C. H. LOONEY, Warden, U. S. Penitentiary, Leavenworth, Kansas.
    No. 5634.
    United States Court of Appeals Tenth Circuit.
    September 6, 1957.
    
      Appeal from the United States District Court for the District of Kansas.
      William C. Farmer U. S. Atty., Topeka, Kan., and Milton P. Beach, Asst. U. S. Atty., Kansas City, Kan., for appellee.
      Before BRATTON, Chief Judge, and HUXMAN and BREITENSTEIN, Circuit Judges.
      PER CURIAM.
    
    
      1
      Affirmed without written opinion.
    
    